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2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     JOHN MICHAEL HERRON, II
6
7                               IN THE UNITED STATES DISTRICT COURT
8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                       )   Case No. 2:18-cr-058 JAM
10                                                   )
                   Plaintiff,                        )   STIPULATION AND ORDER TO CONTINUE
11                                                   )   STATUS CONFERENCE, AND TO EXCLUDE
           vs.                                       )   TIME
12                                                   )
     JOHN MICHAEL HERRON, II,                        )   Date: June 5, 2018
13                                                   )   Time: 9:15 a.m.
                   Defendant.                        )   Judge: Hon. John A. Mendez
14                                                   )
                                                     )
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            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
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     Attorney, through Assistant United States Attorney Amy Schuller Hitchcock, attorney for
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     Plaintiff, Heather Williams, Federal Defender, through Assistant Federal Defender Matthew C.
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     Bockmon, attorneys for John Michael Herron, II, that the status conference scheduled for June 5,
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     2018 be vacated and be continued July 17, 2018 at 9:15 a.m.
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            The government has produced discovery to defense counsel in this case, including over
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     13,000 pages of reports, Excel spreadsheets, banking records, and other documents. The
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     discovery also includes 5 compact discs of audio recordings. The government has represented
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     that it anticipates further discovery will be produced to defense counsel. The grounds for this
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     continuance are that defense counsel requires additional time to review this voluminous
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     discovery, to meet and confer with his client, to investigate the facts of the case, and to otherwise
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     prepare for trial. Defense counsel believes that failure to grant the above-requested continuance
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     would deny him the reasonable time necessary for effective preparation, taking into account the
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      Stipulation and [PROPOSED] Order to Continue        -1-
      Status Conference
       Case 2:18-cr-00058-JAM Document 17 Filed 06/01/18 Page 2 of 3


1    exercise of due diligence.
2           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
3    excluded through and including July 17, 2018, pursuant to 18 U.S.C. §3161 (h)(7)(A)and
4    (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based upon defense
5    preparation.
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7
     DATED: June 1, 2018                             Respectfully submitted,
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9                                                    HEATHER E. WILLIAMS
                                                     Federal Defender
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                                                     /s/ Matthew C. Bockmon
11                                                   MATTHEW C. BOCKMON
                                                     Assistant Federal Defender
12                                                   Attorney for JOHN MICHAEL HERRON, II
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     DATED: June 1, 2018                             MCGREGOR W. SCOTT
14                                                   United States Attorney

15                                                   /s/ Amy Schuller Hitchcock
                                                     AMY SCHULLER HITCHCOCK
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                                                     Assistant United States Attorney
17                                                   Attorney for Plaintiff

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      Stipulation and [PROPOSED] Order to Continue     -2-
      Status Conference
       Case 2:18-cr-00058-JAM Document 17 Filed 06/01/18 Page 3 of 3


1                                                    ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice served by granting the requested continuance
7    outweigh the best interests of the public and defendant in a speedy trial.
8           The Court orders the time through and including July 17, 2018, shall be excluded from
9    computation of time within which the trial of this case must be commenced under the Speedy
10   Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv) [reasonable time for counsel to
11   prepare] and General Order 479, (Local Code T4). It is further ordered the June 5, 2018 status
12   conference shall be continued until July 17, 2018, at 9:15 a.m.
13   Dated: June 1, 2018
                                                            /s/ John A. Mendez____________
14                                                          HON. JOHN A. MENDEZ
15                                                          United States District Court Judge

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      Stipulation and [PROPOSED] Order to Continue    -3-
      Status Conference
